Case 18-01044-JDP        Doc 105     Filed 11/16/18 Entered 11/16/18 16:00:55           Desc Main
                                    Document      Page 1 of 5


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 Attorneys for the United States of America on behalf of the U.S. Small Business Administration

                          UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF IDAHO

 In Re:
                                                   Case No. 18-01044-JDP
 SAFE HAVEN HEALTH CARE, INC.,
                                                   Chapter 11
                       Debtor.
                                                   STIPULATED MOTION TO EXTEND
                                                   THE DEADLINE FOR SBA TO FILE A
                                                   COMPLAINT CHALLENGING THE
                                                   DISCHARGEABILITY OF A DEBT


          COMES NOW the United States of America, on behalf of the U.S. Small Business

 Administration (“SBA”), and Safe Haven Health Care, Inc. (“Debtor”) stipulate to this motion

 wherein the parties ask the Court to extend the deadline for SBA to file a complaint to determine

 dischargeability under 11 U.S.C. § 523(c). 1 A motion to extend the time to file such a complaint

 is allowed under Federal Rule of Bankruptcy Procedure 4007(c). The parties request the


 1
   SBA does not concede that it must file a complaint to assert the nondischargeability of a debt
 pursuant to 11 U.S.C. § 523(c) or that the deadline in Rule of Bankruptcy Procedure 4007(c)
 applies. Rather, pursuant to 11 U.S.C. § 1141(d)(6)(A), SBA takes the position that the
 requirements of 11 U.S.C. § 523(c) and Federal Rule of Bankruptcy Procedure 4007(c) do not
 apply to it because Debtor is a corporation and the SBA is a governmental unit. See In re
 Hawker Beechcraft, Inc., 515 B.R. 416, 432 (S.D.N.Y. 2014). Nonetheless, in an abundance of
 caution SBA files this motion.
 STIPULATED MOTION TO EXTEND THE DEADLINE FOR SBA TO FILE A
 COMPLAINT CHALLENGING THE DISCHARGEABILITY OF A DEBT - 1
Case 18-01044-JDP        Doc 105      Filed 11/16/18 Entered 11/16/18 16:00:55             Desc Main
                                     Document      Page 2 of 5


 deadline (but only if a deadline applies because 11 U.S.C. § 1141(d)(6)(A) seems not to

 incorporate a deadline) be extended to the first date set for a Chapter 11 plan confirmation

 hearing.

        The original deadline to file a complaint to determine dischargeability under 11 U.S.C.

 § 523(c), pursuant to Federal Rule of Bankruptcy Procedure 4007(c), is November 16, 2018.

 November 16th is sixty days after the first date set for the meeting of creditors under § 341(a),

 which was set for September 17, 2018. Notice of Chapter 11 Case, ECF No. 14. Therefore, this

 motion is timely.

        DATED this 16th day of November, 2018.

                                                   BART M. DAVIS
                                                   UNITED STATES ATTORNEY
                                                   By


                                                   /s/ William M. Humphries
                                                   WILLIAM M. HUMPHRIES
                                                   ASSISTANT UNITED STATES ATTORNEY

        DATED this 16th day of November, 2018.


                                                   ANGSTMAN JOHNSON
                                                   By


                                                   /s/ (email approval) _______________________
                                                   CHAD R. MOODY, of the firm
                                                   Attorneys for Debtor




 STIPULATED MOTION TO EXTEND THE DEADLINE FOR SBA TO FILE A
 COMPLAINT CHALLENGING THE DISCHARGEABILITY OF A DEBT - 2
Case 18-01044-JDP       Doc 105     Filed 11/16/18 Entered 11/16/18 16:00:55          Desc Main
                                   Document      Page 3 of 5


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on November 16, 2018, the foregoing STIPULATED

 MOTION TO EXTEND THE DEADLINE FOR SBA TO FILE A COMPLAINT

 CHALLENGING THE DISCHARGEABILITY OF A DEBT was electronically filed with

 the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the

 following person(s):

        Matthew T. Christensen                      Chad Moody
        mtc@angstam.com                             chad@angstam.com
        Attorney for Debtor                         Attorney for Debtor

        David W. Newman                             Brett Cahoon
        ustp.region18.bs.ecf@usdoj.gov              brett.r.cahoon@usdoj.gov
        Office of the U.S. Trustee                  Office of the U.S. Trustee

        Robert J. Maynes                            R. Fred Cooper
        rmaynes@maynestaggart.com                   rfclaw@ida.net
        Attorney for Citizens Community Bank        Attorney for Hands of Hope

        Gregory L. Crockett                         John J. Janis
        gregcrockett@hopkinsroden.com               johnjanis@aol.com
        Attorney for Bank of Idaho                  Attorney for Betty Grant

        John F. Kurtz                               John F. Kurtz
        jkurtz@hawleytroxell.com                    jkurtz@hawleytroxell.com
        Attorney for Omega Healthcare Investors     Attorney for Idaho Associates, LLC

        David H. Leigh                              Randall A. Peterman
        dleigh@rqn.com                              rap@givenspursley.com
        Attorney for ZB, N.A.                       Attorney for ZB. N.A.

        Janine P. Reynard                           Brent R. Wilson
        jpr@magicvalleylaw.com                      bwilson@hawleytroxell.com
        Attorney for Rebecca Taylor                 Attorney for Idaho Associates, LLC

        Brent R. Wilson                             Brent R. Wilson
        bwilson@hawleytroxell.com                   bwilson@hawleytroxell.com
        Attorney for Omega Healthcare Investors     Attorney for Pocatello Idaho Property, LLC




 STIPULATED MOTION TO EXTEND THE DEADLINE FOR SBA TO FILE A
 COMPLAINT CHALLENGING THE DISCHARGEABILITY OF A DEBT - 3
Case 18-01044-JDP        Doc 105    Filed 11/16/18 Entered 11/16/18 16:00:55          Desc Main
                                   Document      Page 4 of 5


        And, I hereby certify that the following listed non-registered CM/ECF participants were

 served by U.S. Mail, postage prepaid:

        Safe Haven Health Care, Inc.
        Attn: Scott Burpee, Pres.
        8050 West Northview
        Boise, ID 83704
        Debtor

        Eastern Idaho Development Corporation
        Attn: Samantha Damron, RA and Director
        1651 Alvin Ricken Drive
        Pocatello, ID 83201

        And, on the following Twenty Largest Unsecured Creditors, not already listed above, as

 set forth by the following:

        AACO A-1 Health Care Services                     AAMCO Medical, LLC
        PO Box 75111                                      9847 S 500 W Ste 200
        Seattle, WA 98125                                 Sandy, UT 84070

        Blaine County                                     Colonial Funding Network
        219 First Avenue South                            120 West 45th
        Suite 102                                         New York, NY 10036
        Hailey, ID 83333

        Hansen Hunter and Co.                             Holland and Hart
        8930 SW Gemini Drive                              800 W Main Street #1750
        Beaverton, OR 98008                               Boise, ID 83702

        Idaho Dept. of Health & Welfare                   Independence Rehab
        Central Revenue Unit                              5314 River Run Dr., Ste. 140
        PO Box 83720                                      Provo, UT 84604
        Boise, ID 83720-0036

        Evolution Capital                                 McKesson Medical-Surgical
        120 W 45th St, 2nd Floor                          8121 10th Avenue N
        New York, NY 10036                                Minneapolis, MN 55427

        MedSource Incorporated                            Noridian Healthcare Solution
        10520 South 700 East                              PO Box 6722
        Suite 210                                         Fargo, ND 58108-6722
        Sandy, UT 84070



 STIPULATED MOTION TO EXTEND THE DEADLINE FOR SBA TO FILE A
 COMPLAINT CHALLENGING THE DISCHARGEABILITY OF A DEBT - 4
Case 18-01044-JDP    Doc 105     Filed 11/16/18 Entered 11/16/18 16:00:55       Desc Main
                                Document      Page 5 of 5


      Omega Mental Health                          Sage Health Care PLLC
      5985 W State Street                          413 Allumbaugh St, Ste 101
      Boise, ID 83703                              Boise, ID 83704

      State of Idaho Medicaid                      Strategies 360 Inc.
      PO Box 83720                                 1505 Westlake Avenue North
      Boise, ID 83720-0009                         Suite 1000
                                                   Seattle, WA 98109


                                                  /s/ Jessica Black
                                                   Jessica Black
                                                   Legal Assistant




 STIPULATED MOTION TO EXTEND THE DEADLINE FOR SBA TO FILE A
 COMPLAINT CHALLENGING THE DISCHARGEABILITY OF A DEBT - 5
